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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 19-CV-63065-CANNON/VALLE

  Renee Maro,

         Plaintiff,

  v.

  PRIMARY CARE PHYSICIANS OF HOLLYWOOD, P.L.,

        Defendant.
  _______________________________/


                      ORDER SETTING SETTLEMENT CONFERENCE

        THIS CAUSE is before the Court upon United States District Judge Beth Bloom’s Order

  referring the case to the undersigned for a settlement conference.1 See (ECF No. 30).

        Accordingly, a settlement conference will be held on Monday, December 14, 2020 at

  2:00 p.m. Due to the COVID-19 pandemic, the conference will be conducted remotely by video

  or telephone conferencing. The day before the conference, the Court will advise the parties of the

  selected method to conduct the proceedings. ALL PARTIES AND THEIR COUNSELS MUST

  PARTICIPATE WITH FULL AUTHORITY TO SETTLE THIS ACTION. All attendees

  should allocate a minimum of three hours for the conference.




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    Since the initial referral, this case has been reassigned to U.S. District Judge Aileen M. Cannon
  for all further proceedings.
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        By Wednesday, December 9, 2020, each party shall: (i) file a certificate of compliance

  confirming that all documents supporting the claims and defenses have been exchanged and

  reviewed; and (ii) email (not file) a Confidential Settlement Conference Statement to Judge Valle

  at valle@flsd.uscourts.gov. Each Statement shall not exceed five (5) double-spaced pages.

        DONE AND ORDERED in Chambers, at Fort Lauderdale, Florida, on December 1, 2020.



                                                      __________________________________
                                                      ALICIA O. VALLE
                                                      UNITED STATES MAGISTRATE JUDGE


  cc: U.S. District Judge Aileen M. Cannon
      All Counsel of Record




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